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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:22−cr−00323
                                                          Honorable Steven C. Seeger
Thomas Pavey, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 27, 2023:


        MINUTE entry before the Honorable Gabriel A. Fuentes as to Raheim Hamilton:
Motion hearing held on Defendant's motion for pretrial release (doc. #[37]). Prior to
today's hearing, the Court was informed that defense counsel would be withdrawing the
motion without prejudice. At hearing, defendant stated through counsel that he wishes to
press the motion, and not withdraw it. For the reasons stated on the record, defendant's
request to withdrawal the motion for pretrial release is withdrawn, and his notice of
withdrawal (doc. #[41]) is stricken. Defendant's motion for pretrial release is entered and
continued. The government may respond to that motion in writing by 5 p.m. on 2/6/23 or
orally at the motion hearing. The motion hearing is reset for 9 a.m. on 2/7/23 in
Courtroom #1838 of the Dirksen U.S. Courthouse. Mailed notice. (lxk, )




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